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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                     *
                                             *
             v.                              * CRIMINAL NO. CCB-19-036
                                             *
CORREY CAWTHORN, et al.                      *
                                             *
             Defendants.                     *
                                          *******

                                    EXHIBIT LIST

Exhibit 1    Cawthorn (443) 500-7088 Tracking Warrant and iPhone 7 Search Warrant

Exhibit 2    Cawthorn Massachusetts Avenue Search Warrant

Exhibit 3    Cawthorn iPhone 8 Search Warrant

Exhibit 4    Creek (443) 570-7290 Tracking Warrant

Exhibit 5    Creek Five Cellphones Warrant

Exhibit 6    Creek Instagram Warrant

Exhibit 7    Keishonne Moore Cellphone Warrant

Exhibit 8    Tunnell’s Recorded Statement

Exhibit 9    Cawthorn’s August 3, 2018 Recorded Statement

Exhibit 10   Cawthorn’s August 28, 2018 Recorded Statement

Exhibit 11   Grier’s Recorded Statement

Exhibit 12   Harris-Howell’s Recorded Statement
